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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND


CHARLES E. RASH, #305-246                          *

       Petitioner                                  *

       v.                                          *    Civil Action No. RDB-05-3045

UNITED STATES OF AMERICA                           *

       Respondent                                  *

                                               ******

                                   MEMORANDUM OPINION

       Petitioner, a state prisoner currently confined at the Maryland Correctional Institution-

Hagerstown, filed this Petition for Writ of Habeas Corpus pursuant to 28 U.S.C. § 2241, attacking

his convictions entered on July 9, 2002, by the United States District Court for the Northern District

of West Virginia in United States v. Rash, Criminal No. 01-25 (D. W.Va. 2001). Petitioner seeks

to vacate these convictions and sentences.

       In this case, Petitioner is collaterally attacking the validity of his sentence. As such, the

proper vehicle by which to assert this challenge is a 28 U.S.C. §2255 motion. See Calderon v.

Thompson, 523 U.S. 538, 554 (1998) (ruling it is the subject matter of the motion and not a

petitioner’s description which determines its status). Accordingly, the Petition will be construed as

a Motion to Vacate, Set Aside or Correct sentence under §2255. A motion to vacate must be filed

in the sentencing court, not the court in the jurisdiction wherein Petitioner is confined. See 28

U.S.C. § 2255; Braden v. 30th Judicial Circuit Court, 410 U.S. 484, 497 (1973). For these reasons,

the instant action shall be transferred to the United States District Court for the Northern District of

West Virginia.
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      A separate Order shall be entered in accordance with this Memorandum Opinion.



November 17, 2005                        /s/
__________________                        _________________________________
Date                                           RICHARD D. BENNETT
                                         UNITED STATES DISTRICT JUDGE
